         Case 1:20-cv-02735-CRC Document 85 Filed 09/01/22 Page 1 of 3



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
 ---------------------------------- X
 GIANNA WHEELER,                      :
                                      :
                      Plaintiff,      :   Civil Action No. 1:20-cv-2735-CRC
                                      :
      v.                              :
                                      :
 AMERICAN UNIVERSITY et al.,          :
                                      :
                      Defendants.     :
                                      :
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                              EIGHTH JOINT STATUS REPORT

       Plaintiff Gianna Wheeler and Defendants American University, Jeffrey Brown, Kevin

Barrett, Michael Vena, Joseph Joyner, and Matthew Gomez (“the AU Defendants”), along with

Defendants Stephen Kinzer, Deborah Smith, and Richard Davis, III (“the MPD Defendants”)

(collectively, “the parties”), submit this eighth Joint Status Report pursuant to this Court’s August

15, 2022 Minute Order.

       The parties filed a Joint Status Report on May 26, 2022 informing this Court that Plaintiff

and the MPD Defendants reached an agreement that was pending formal execution, and that

Plaintiff and the AU Defendants were continuing negotiations. The parties filed a second Joint

Status Report on June 3, 2022, a third Joint Status Report on June 10, 2022, a fourth Joint Status

Report on June 17, 2022, a fifth Joint Status Report on July 1, 2022, a sixth Joint Status Report on

July 28, 2022, and a seventh Joint Status Report on August 11, 2022 updating this Court that the

parties were engaged in ongoing discussions and attempting to reach agreement. Since the filing

of the seventh Joint Status Report, the parties have continued these discussions and made progress

towards settlement.

       Plaintiff and the MPD Defendants have a fully executed agreement. Pursuant to that

agreement, Plaintiff will dismiss her claims against the MPD Defendants upon receipt of the

settlement funds.
          Case 1:20-cv-02735-CRC Document 85 Filed 09/01/22 Page 2 of 3



       Plaintiff and AU Defendants continue to work diligently with the mediators to reach a

resolution. Given their ongoing efforts, the parties respectfully request that the Court stay all

discovery until further notice, and order the parties to file a further Joint Status Report on or before

September 14, 2022, updating the Court on the progress of the mediation and whether it is

necessary to proceed with an initial scheduling conference and/or a scheduling order.
        Case 1:20-cv-02735-CRC Document 85 Filed 09/01/22 Page 3 of 3



Dated: September 1, 2022                            Respectfully submitted,


/s/ Kaitlin R. Banner                               /s/ Debra R. Belott
Kaitlin R. Banner (D.C. Bar No. 1000436)            Debra R. Belott (D.C. Bar No. 993507)
Dennis A. Corkery (D.C. Bar No. 1016991)            Ariel Volpe (D.C. Bar No. 888324780)
Margaret Hart (D.C. Bar No. 1030528)                JONES DAY
WASHINGTON LAWYERS’ COMMITTEE                       51 Louisiana Ave., N.W.
FOR CIVIL RIGHTS AND URBAN AFFAIRS                  Washington, DC 20001
700 14th Street, N.W., Suite 400                    Phone: (202) 879-3689
Washington, DC 20005                                Fax: (202) 626-1700
Phone: (202) 319-1000                               dbelott@jonesday.com
Fax: (203) 319-1010
kaitlin_banner@washlaw.org

                               Counsel for Plaintiff Gianna Wheeler


KARL A. RACINE                                      /s/ Robert A. DeBerardinis, Jr._
Attorney General for the District of Columbia       ROBERT A. DEBERARDINIS, JR [335976]
                                                    Senior Assistant Attorney General
CHAD COPELAND                                       Civil Litigation Division
Deputy Attorney General                             400 6th Street, NW
Civil Litigation Division                           Washington, D.C. 20001
                                                    Phone: (202) 724-6642
/s/ Alicia M. Cullen                                Fax: (202) 741-8895
ALICIA M. CULLEN [1015227]                          robert.deberardinis@dc.gov
Chief, Civil Litigation Division, Section III

           Counsel for Defendants Richard Davis, Stephen Kinzer, and Deborah Smith


/s/ Paul J. Maloney
Paul J. Maloney, #362533
Matthew D. Berkowitz, #974170
Brian M. O’Shea, #1600057
Carr Maloney P.C.
2020 K Street, NW, Suite 850
Washington, D.C. 20006
202-310-5500 (Telephone)
202-310-5555 (Facsimile) matthew.berkowitz@carrmaloney.com
paul.maloney@carrmaloney.com
brian.o’shea@carrmaloney.com

 Counsel for American University, Jeffrey Brown, Kevin Barrett, Matthew Gomez, Michael Vena,
                                       and Joseph Joyner


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